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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

CRYSTAL REDICK, individually Case No.: 2:21-cv-07144-MWF-PD
and on behalf of all others similarly

situated, Honorable Judge Michael W. Fitzgerald
Plaintiff, ORDER GRANTING STIPULATION
V. OF DISMISSAL OF CASE WITH
PREJUDICE

BONOBOS, INC.; and DOES 1| to 10,
inclusive,

Defendants.

 

 

 

 

IT IS HEREBY ORDERED THAT, good cause showing, Plaintiff Crystal
Redick and Defendant Bonobos, Inc. jointly request that this Court enter a dismissal
with prejudice as to Plaintiff's individual claims in their entirety and without
prejudice as to the claims of absent putative class members in the above-entitled

action, is GRANTED in full. Each party shall bear his or its own fees and costs.

IT IS SO ORDERED. ADS Z /
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Dated: November 22, 2021
MICHAEL W. FITZGERALD
United States District Judge

 
